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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  ROANOKE DIVISION

 NANCY BLANCHARD,                                )
                                                 )
        Plaintiff,                               )
                                                 )
 v.                                              )       Civil Action No. 7:17-cv-00079
                                                 )
 SCOTT PRATER, et al.,                           )       By: Elizabeth K. Dillon
                                                 )           United States District Judge
        Defendants.                              )


                              ORDER AND FINAL JUDGMENT

        For the reasons set forth in the memorandum opinion entered this day, the defendants’

 motions for summary judgment (Dkt. Nos. 65 and 68) are hereby GRANTED, and the clerk is

 directed to STRIKE this case from the active docket of this court.

        The clerk is directed to provide copies of this order and the memorandum opinion to all

 counsel of record.

        Entered: March 31, 2019.




                                              /s/ Elizabeth K. Dillon
                                              Elizabeth K. Dillon
                                              United States District Judge
